                                                          Case 2:18-cv-01448-RFB-CWH Document 1 Filed 08/06/18 Page 1 of 5



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                                                     6

                                                     7
                                                                                        UNITED STATES DISTRICT COURT
                                                     8
                                                                                                DISTRICT OF NEVADA
                                                     9
                                                         VERNON NELSON,                                       Case No.: 18-1448
                                                    10

                                                    11                           Plaintiff,
THE LAW OFFICE OF VERNON NELSON




                                                                                                                    COMPLAINT FOR DAMAGES
                                                    12 v.                                                          PURSUANT TO THE FAIR DEBT
                                                                                                                     COLLECTION PRACTICES
                                                    13 TERRA WEST COLLECTIONS LLC d/b/a                               ACT 15 § 1692, ET. SEQ.
                                  ATTORNEY AT LAW




                                                       ASSESSMENT MANAGEMENT                                        AND RELATED STATE LAWS
                                                    14 SERVICES,                                                               AND
                                                    15                                                                   JURY DEMAND
                                                                                 Defendant.
                                                    16
                                                                Plaintiff, VERNON NELSON ("Plaintiff”), by and through his attorney of record, Melissa
                                                    17
                                                         Ingleby, Esq., and for his claims for relief against Defendant, TERRA WEST COLLECTIONS LLC
                                                    18

                                                    19 doing business as ASSESSMENT MANAGEMENT SERVICES complains and alleges as follows:

                                                    20                                        JURISDICTION AND VENUE

                                                    21          1.        This action arises out of Defendants’ violations of the Fair Debt Collection Practices
                                                    22
                                                         Act, 15 U.S.C. § 1692, et. seq. ("FDCPA") and related State Law Claims.
                                                    23
                                                                2.        This court has jurisdiction over this matter pursuant to 15 U.S.C. § 1692k and 28
                                                    24
                                                         U.S.C. § 1331.
                                                    25
                                                                3.        Pursuant to 28 U.S.C. § 1391(b), venue in this District is proper because Plaintiff and
                                                    26

                                                    27 Defendant reside and/or do business in the District of Nevada; and the acts of the Parties occurred in

                                                    28 the District of Nevada.
      Case 2:18-cv-01448-RFB-CWH Document 1 Filed 08/06/18 Page 2 of 5



 1                                                  PARTIES

 2           4.      Plaintiff is an adult individual who reside in the State of Nevada and is a "consumer" as
 3
     defined by 15 U.S.C. § 1692a (3).
 4
             5.      TERRA WEST COLLECTIONS LLC d/b/a Assessment Management Services
 5
     (hereinafter referred to as “Defendant” or “AMS”) is a domestic corporation doing business in the
 6

 7 State of Nevada. AMS is a debt collector as that term is defined by 15 U.S.C. § 1692a (6).

 8                                       FACTUAL ALLEGATIONS

 9           6.      Plaintiff incorporates by reference each and every allegation previously made in this
10 Complaint, as if fully set forth herein.

11
             7.      On April 12, 2017, AMS sent Plaintiff a Notice of Debt regarding a “Notice of
12
     Delinquent Violations Fine Lien.” AMS claimed Plaintiff failed to pay a Debt.
13
             8.      Specifically, the Notice of Debt stated a Notice of Delinquent Violation Fines Lien was
14

15 recorded against the Plaintiff’s property (“Property”) on behalf of SUNRIDGE AT MacDONALD

16 RANCH COMMUNITY ASSOCIATION (the “Creditor”) relevant to unpaid community

17 association’s fees (the “Debt”).

18           9.      The Notice of Debt did not comply with FDCPA §1692(g). For example, the Notice of
19
     Debt did not include: (a) a statement that unless the consumer, within thirty days after receipt of the
20
     notice, disputes the validity of the debt, or any portion thereof, the debt will be assumed to be valid by
21
     the debt collector; (b) a statement that if the consumer notifies the debt collector in writing within the
22

23 thirty-day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

24 verification of the debt or a copy of a judgment against the consumer and a copy of such verification

25 or judgment will be mailed to the consumer by the debt collector; and (c) a statement that, upon the

26
     consumer’s written request within the thirty-day period, the debt collector will provide the consumer
27
     with the name and address of the original creditor, if different from the current creditor.
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      Case 2:18-cv-01448-RFB-CWH Document 1 Filed 08/06/18 Page 3 of 5



 1          10.     Notwithstanding AMS’s failure to comply with § 1 6 9 2(g) of the FDCPA, Plaintiff

 2 notified AMS, via a written letter dated May 1, 2017 that he disputed the Debt.

 3
            11.     AMS failed to respond to Plaintiff’s letter dated May 1, 2017. Thus, AMS failed to
 4
     verify the Debt, in compliance with §1692(g) of the FDCPA.
 5
            12.     AMS continued with their efforts to collect the Debt despite the fact that they failed to
 6

 7 comply with section §1692(g) of the FDCPA. (“1692(g) Violations”).

 8          13.     In January of 2018, Plaintiff entered a Residential Purchase Agreement for the sale of

 9 the Property. While the sale was in escrow, the Escrow Agent notified Plaintiff the Buyer was getting
10 a loan and the lender would not close unless Plaintiff provided clear title. As a result, Plaintiff was

11
     forced to pay over $3,200.00 to release the lien to be able to sell the Property.
12
            14.     The FDCPA prohibits abusive debt collection practices by debt collectors. In this
13
     regard, the FDCPA sets certain standards for debt collectors and their communications with debtors.
14

15 These standards include: (1) the requirement that debt collectors advise debtors of their rights to

16 dispute the debt and demand verification; (2) a ban on the use of false and misleading statements in

17 attempting to collect the debt; and (3) a prohibition against collecting debts via "unfair or

18 unconscionable means.

19
           15.    The Defendant committed several violations of the FDCPA. The Defendants failed to
20
   advise the debtor of his right to dispute the debt and verify the debt.
21
           16.    The Defendant used "unfair and unconscionable means" to collect the debt by
22

23 committing the § 1692(g) Violations.

24          17.     The Defendants’ violations of the FDCPA have caused the Plaintiff to suffer

25 substantial damages. In this regard, the Plaintiff has suffered: (1) substantial economic damages; (2)

26
     severe emotional damages, and (3) damages to his credit history and reputation.
27
            18.     In addition, the Plaintiff has incurred substantial attorney's fees.
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                                                        3
      Case 2:18-cv-01448-RFB-CWH Document 1 Filed 08/06/18 Page 4 of 5



 1          19.     The actions of Defendants were committed by other persons or entities employed by

 2 AMS (“AMS Parties). The actions of the AMS Parties were incidental to, or of the same general

 3
     nature as, the responsibilities that these agents were authorized to perform by AMS.
 4
            20.     The actions of the AMS Parties were committed in their capacity as agents of their
 5
     principal. The actions of the AMS Parties were committed within the scope and authority granted by
 6

 7 of their principal and were motivated to benefit their principal

 8          21.     Defendants are therefore liable to Plaintiff through the doctrine of Respondeat Superior

 9 for the unlawful actions of their employees, including but not limited to violations of the FDCPA and
10 the laws of the State of Nevada.

11
                                        FIRST CLAIM FOR RELIEF
12
             [Violations of the FDCPA, 15 U.S.C. § 1692, et. seq. against the Defendant AMS]
13
            22.     Plaintiff incorporates by reference each and every allegation previously made in this
14

15 Complaint, as if fully set forth herein.

16          23.     The Defendants are "debt collectors" under the FDCPA.

17          24.     Within the past year, Defendant, who is a debt collector under the FDCPA, committed
18
     several violations of the FDCPA.
19
            25.     Defendant used unfair and unconscionable means” to collect the debt by committing
20
     the 1692(g) Violations. In addition, Defendants violated the FDCPA by committing all violations
21
     referenced in this Paragraph.
22

23          26.     In committing the 1692(g) Violations, Defendant committed numerous violations of the

24 FDCPA, including but not limited to:

25                  A.     by failing to advise Debtor of his right to dispute the debt;
26
                    B.     by failing to verify the debt;
27
                    C.     by “mischaracterizing the character, amount, and legal status of the Debt.”
28

                                                       4
      Case 2:18-cv-01448-RFB-CWH Document 1 Filed 08/06/18 Page 5 of 5



 1                   D.      by employing various false representations and deceptive means to

 2                   collect the Debt.
 3
             27.     The 1692(g) Violations, and other numerous violations of the FDCPA constitute
 4
     numerous, repeated, knowing, intentional, reckless and/or negligent violations of the FDCPA. As a
 5
     result of such violations, the Plaintiff is entitled to statutory damages, plus actual damages to be
 6
     proven at the time of trial in this matter.
 7

 8           28.     As a result of Defendants ‘unlawful conduct, Plaintiff has suffered economic and

 9 emotional distress damages.
10           29.     Plaintiff has been forced to retain counsel to pursue this matter and is entitled to
11
     recover reasonable attorney's fees plus costs incurred under 15 U.S.C. § 1692k.
12
                                         DEMAND FOR JURY TRIAL
13
             Plaintiff demands trial by jury of all of the issues in this action.
14

15          DATED this 6th day of August, 2018.

16

17

18                                                    By:          /s/ Melissa Ingleby
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